
PER CURIAM.
We agree with the holding of the trial court, following Fogg v. Southeast Bank, N.A., 473 So.2d 1352 (Fla. 4th DCA 1985), that the 1986 amendment to section 697.-05(3), Florida Statutes (1985), which eliminated the interest forfeiture provision of the Balloon Mortgage Law, applies to a mortgage entered into before its effective date. See Tralins v. Pearl, 497 So.2d 918 (Fla. 3d DCA 1986) (per curiam).
The other issue raised by the appellee was not presented below and will therefore not be considered. 3 Fla.Jur.2d Appellate Review § 92 (1987).
Affirmed.
